UNITED STATES DISTRICT COURT United 5
SOUTHERN DISTRICT OF TEXAS Southern distee, courts
HOUSTON DIVISION FILED” as
UNITED STATES OF AMERICA
4. Bradley

TOWER RESEARCH CAPITAL LLC,

CI
v. ' CRIMINAL NO. ork Of Court
Defendant. '

197819.

DEFERRED PROSECUTION AGREEMENT

Defendant Tower Research Capital LLC (the “Company”’), pursuant to authority granted
by the Company’s members reflected in Attachment B, and the United States Department of
Justice, Criminal Division, Fraud Section, and the United States Attorney’s Office for the
Southern District of Texas (collectively, the “Fraud Section and the Office’), enter into this
deferred prosecution agreement (the “Agreement’).

Criminal Information and Acceptance of Responsibility

l. The Company acknowledges and agrees that the Fraud Section and the Office will
file the attached one-count criminal Information in the United States District Court for the
Southern District of Texas charging the Company with commodities fraud, in violation of Title
18, United States Code, Section 1348(1). In so doing, the Company: (a) knowingly waives its
right to indictment on this charge, as well as all rights to a speedy trial pursuant to the Sixth
Amendment to the United States Constitution, Title 18, United States Code, Section 3161, and
Federal Rule of Criminal Procedure 48(b); and (b) knowingly waives any objection with respect
to venue to any charges by the United States arising out of the conduct described in the
Statement of Facts attached hereto as Attachment A and consents to the filing of the Information,
as provided under the terms of this Agreement, in the United States District Court for the

Southern District of Texas. The Fraud Section and the Office agree to defer prosecution of the
Company pursuant to the terms and conditions described below.

2. The Company admits, accepts, and acknowledges that it is responsible under
United States law for the acts of its officers, members, employees, and agents as charged in the
Information, and as set forth in the attached Statement of Facts, and that the allegations described
in the Information and'theyggets described in the attached Statement of Facts are true and
accurate. Should the Fraud Section and the Office pursue the prosecution that is deferred by this
Agreement, the Company stipulates to the admissibility of the attached Statement of Facts in any
proceeding, including any trial, guilty plea, or sentencing proceeding, and will not contradict
anything in the attached Statement of Facts at any such proceeding.

Term of the Agreement

3. This Agreement is effective for a period beginning on the date on which the
Information is filed and ending three years from that date (the “Term’”’). The Company agrees,
however, that, in the event the Fraud Section and the Office determine, in their sole discretion,
that the Company has knowingly violated any provision of this Agreement or has failed to
completely perform or fulfill each of the Company’s obligations under this Agreement, an
extension or extensions of the Term may be imposed by the Fraud Section and the Office, in
their sole discretion, for up to a total additional time period of one year, without prejudice to the
right of the Fraud Section and the Office to proceed as provided in Paragraphs 25-29 below.
Any extension of the Agreement extends all terms of this Agreement, including the terms of the
reporting requirement in Attachment D, for an equivalent period. Conversely, in the event the
Fraud Section and the Office find, in their sole discretion, that there exists a change in
circumstances sufficient to eliminate the need for the reporting requirement in Attachment D,

and that the other provisions of this Agreement have been satisfied, the Agreement may be
terminated early.

Relevant Considerations

4, The Fraud Section and the Office enter into this Agreement based on the
individual facts and circumstances presented by this case and the Company, including:

a. the Company did not receive voluntary disclosure credit because it did not
voluntarily and timely disclose to the Fraud Section and the Office the conduct described
in the Statement of Facts attached hereto as Attachment A (“Statement of Facts”);

b. the Company received full credit for its cooperation with the investigation
conducted by the Fraud Section and the Office, including conducting a thorough internal
investigation, making regular factual presentations to the Fraud Section and the Office,
voluntarily making employees available for interviews, and collecting, analyzing, and
organizing voluminous evidence and information for the Fraud Section and the Office;

C. the Company provided to the Fraud Section and the Office all relevant
facts known to it, including information about the individuals involved in the conduct
described in the attached Statement of Facts;

d. the Company engaged in extensive remedial measures, including swiftly
moving in early 2014 to terminate the traders involved in the conduct described in the
attached Statement of Facts. The Company enhanced its compliance program and
internal controls to ensure they were designed to deter and detect spoofing, commodities
fraud, and other types of market manipulation through, among other things, (i) substantial
investments in staffing and resources for the Company’s legal and compliance teams; (ii)
updated policies, procedures, and supervisory structures with a specific emphasis on the

prohibitions against spoofing; (111) expanded compliance training on spoofing and market
manipulation including annual compliance training to all traders that covers spoofing and
the issuance of bulletins and alerts regarding new regulatory developments and
enforcement cases; and (iv) significant investments in sophisticated trade surveillance
tools that are supported by a dedicated compliance staff and a team of in-house
developers. In addition, the Company made changes to its senior management and
revised the Company’s corporate governance structure;

e. the Company has enhanced and has committed to continuing to enhance
its compliance program and internal controls, including ensuring that its compliance
program satisfies the minimum elements set forth in Attachment C to this Agreement
(Corporate Compliance Program);

f accordingly, after considering (a) through (e) above, the Company
received an aggregate discount of 25 percent off of the bottom of the otherwise-
applicable United States Sentencing Guidelines fine range for purposes of calculating the
appropriate Criminal Monetary Penalty under this Agreement;

g. based on the Company’s remediation and the state of its compliance
program, the fact that the conduct described in the attached Statement of Facts concluded
in 2013, and the Company’s agreement to report to the Fraud Section and the Office as
set forth in Attachment D to this Agreement (Corporate Compliance Reporting), the
Fraud Section and the Office determined that an independent compliance monitor was
unnecessary;

h. the nature and seriousness of the offense conduct, which involved

thousands of episodes of unlawful trading activity by three traders employed by the
Company between March 2012 and December 2013 and approximately $32,593,849 of
loss to market participants;

i. the Company has no prior criminal history;

j. the Company has agreed to continue to cooperate with the Fraud Section
and the Office as set forth in Paragraph 5, below; and

k. the Company has resolved with the United States Commodity Futures
Trading Commission (“CFTC”) through a proceeding pursuant to Section 6(c) and (d) of
the Commodity Exchange Act, relating to the conduct described in the Statement of
Facts.

Future Cooperation and Disclosure Requirements

5. The Company shall cooperate fully with the Fraud Section and the Office in any
and all matters relating to the conduct described in this Agreement and the attached Statement of
Facts and other conduct related to violations of the Commodity Exchange Act, Title 7, United
States Code, Section 1, et seg., and the commodities fraud statute, Title 18, United States Code,
Section 1348 (collectively and hereafter, the “Commodities Laws”) that is under investigation by
the Fraud Section and the Office until the later of the date upon which all investigations and
prosecutions arising out of such conduct are concluded, or the end of the term specified in
paragraph 3. At the request of the Fraud Section and the Office, the Company shall also
cooperate fully with other domestic or foreign law enforcement and regulatory authorities and
agencies in any investigation of the Company, its affiliates, or any of its present or former
officers, members, employees, agents, and consultants, or any other party, in any and all matters
relating to the conduct described in this Agreement and the attached Statement of Facts and other

conduct related to violations of the Commodities Laws. The Company’s cooperation pursuant to
this Paragraph is subject to applicable law and regulations, as well as valid claims of attorney-
client privilege or attorney work product doctrine; however, the Company must provide to the
Fraud Section and the Office a log of any information or cooperation that is not provided based
on an assertion of law, regulation, or privilege, and the Company bears the burden of establishing
the validity of any such an assertion. The Company agrees that its cooperation pursuant to this
paragraph shall include, but not be limited to, the following:

a. The Company shall truthfully disclose all factual information with respect
to its activities, those of its affiliates, and those of its present and former members,
officers, employees, agents, and consultants, including any evidence or allegations and
internal or external investigations, about which the Company has any knowledge or about
which the Fraud Section and the Office may inquire. This obligation of truthful
disclosure includes, but is not limited to, the obligation of the Company to provide to the
Fraud Section and the Office, upon request, any document, record or other tangible
evidence about which the Company has knowledge or about which the Fraud Section and
the Office may inquire of the Company.

b. Upon request of the Fraud Section and the Office, the Company shall
designate knowledgeable employees, agents or attorneys to provide to the Fraud Section
and the Office the information and materials described in Paragraph 5(a) above on behalf
of the Company. It is further understood that the Company must at all times provide
complete, truthful, and accurate information.

c. The Company shall use its best efforts to make available for interviews
or testimony, as requested by the Fraud Section and the Office, present or former

officers, members, employees, agents and consultants of the Company. This obligation
includes, but is not limited to, sworn testimony before a federal grand jury or in federal
trials, as well as interviews with domestic or foreign law enforcement and regulatory
authorities. Cooperation under this Paragraph shall include identification of witnesses
who, to the knowledge of the Company, may have material information regarding the
matters under investigation.

d. With respect to any information, testimony, documents, records or other
tangible evidence provided to the Fraud Section and the Office pursuant to this
Agreement, the Company consents to any and all disclosures to other governmental
authorities, including United States authorities and those of a foreign government of
such materials as the Fraud Section and the Office, in their sole discretion, shall deem

appropriate.

6. In addition to the obligations in Paragraph 5, during the Term, should the
Company learn of any evidence or allegation of conduct that may constitute a violation of the
Commodities Laws, the Company shall promptly report such evidence or allegation to the Fraud
Section and the Office.

Total Criminal Monetary Amount

7. The Company and the Fraud Section and the Office agree that the Total Criminal
Monetary Amount to be paid by the Company pursuant to this Agreement is $67,493,849, which
is comprised of the following components set forth below: (1) a Criminal Monetary Penalty in
the amount of $24,400,000; (2) a Criminal Disgorgement Amount of $10,500,000; and (3) a

Victim Compensation Payment Amount of $32,593,849.

8. The Fraud Section and the Office agree that the amount of the Criminal Monetary

Penalty and Criminal Disgorgement will be offset by the amount of any payment made pursuant
to the order and settlement between the Company and the CFTC relating to the conduct

described in the attached Statement of Facts.

9. The Company acknowledges that no tax deduction may be sought in connection
with the payment of any of the components of the Total Criminal Monetary Amount. The
Company shall not seek or accept directly or indirectly reimbursement or indemnification from
any source with regard to the Total Criminal Monetary Amount or any disgorgement amounts
that the Company pays pursuant to any other agreement entered into with an enforcement
authority or regulator, including the CFTC, concerning the facts set forth in the attached
Statement of Facts.

Payment of Criminal Monetary Penalty

10. The Fraud Section and the Office and the Company agree that application of the
United States Sentencing Guidelines (“USSG” or “Sentencing Guidelines”) to determine the
applicable fine range yields the following analysis:
a. The November 1, 2018 USSG are applicable to this matter.

b. Offense Level. Based upon USSG § 2B1.1, the total offense level is 33,
calculated as follows:

(a)(1) Base Offense Level 7
(b)(1)(L) Loss Exceeds $25,000,000 +22
(b)(2)(A)(i) More Than 10 Victims +2
(b)(10)(c) Sophisticated Means +2
TOTAL 33°

c. Base Fine. Based upon USSG § 8C2.4(a), the base fine is $32,593,849
(the pecuniary loss under USSG § 8C2.4(a)(3), which is greater than the
$22,000,000 fine indicated in the Offense Level Fine Table under
§8C2.4(a)(1))
d. Culpability Score. Based upon USSG § 8C2.5, the culpability score is 5,
calculated as follows:

(a) Base Culpability Score 5

(b)(4)_ the organization had 50 or more employees and
an individual within substantial authority personnel
of the organization participated in, condoned,
or was willfully ignorant of the offense +2

(g)(2) the organization fully cooperated in the
investigation and clearly demonstrated recognition
and affirmative acceptance of responsibility for its
criminal conduct -2

TOTAL 5

Calculation of Fine Range:

Base Fine $32,593,849

Multipliers 1 (min) / 2 (max)

Fine Range $32,593,849 / $65,187,698
11. The Company agrees to pay a criminal monetary penalty in the amount of

$24,400,000 (representing a reduction of approximately 25 percent off the low-end of the above
calculated fine range) to the United States Treasury no later than ten (10) business days after the
Agreement is fully executed (hereafter, the “Criminal Monetary Penalty”) pursuant to payment
instructions provided by the Fraud Section and the Office in their sole discretion. The Company
and the Fraud Section and the Office agree that this Criminal Monetary Penalty is appropriate
given the facts and circumstances of this case, including the Relevant Considerations described

in Paragraph 4.

12. The $24,400,000 Criminal Monetary Penalty is final and shall not be refunded.
Furthermore, nothing in this Agreement shall be deemed an agreement by the Fraud Section and

the Office that $24,400,000 is the maximum fine that may be imposed in any future prosecution,

-9-
and the Fraud Section and the Office are not precluded from arguing in any future prosecution
that the Court should impose a higher fine, although the Fraud Section and the Office agree that
under those circumstances, they will recommend to the Court that any amount paid as part of the
Criminal Monetary Penalty should be offset against any fine the Court imposes as part of a future
judgment.

Payment of Criminal Disgorgement Amount

13. The Company agrees that the overall profits earned from the Relay Team’s
trading activity, including the conduct set forth in the Statement of Facts, is at least $10,500,000.
The Company hereby agrees to disgorge to the United States the sum of $10,500,000 (the
“Criminal Disgorgement Amount”). The Company shall pay the Criminal Disgorgement
Amount no later than ten (10) business days after the Agreement is fully executed, pursuant to

payment instructions provided by the Fraud Section and the Office in their sole discretion.

14. | The Criminal Disgorgement Amount paid is final and shall not be refunded
should the Fraud Section and the Office later determine that the Company has breached this
Agreement and commence a prosecution against the Company. In the event of a breach of this
Agreement and subsequent prosecution, the Fraud Section and the Office may pursue additional
disgorgement and civil and criminal forfeiture in excess of the Criminal Disgorgement Amount.
The Fraud Section and the Office agree that in the event of a subsequent breach and prosecution,
they will recommend to the Court that the amounts paid pursuant to this Agreement be offset
against whatever disgorgement the Court shall impose as part of its judgment. The Company
understands that such a recommendation will not be binding on the Court.

Payment of Victim Compensation Amount

-10-
15. | The Company agrees to pay the amount of $32,593,849 in order to compensate
victims for their losses as set forth in Paragraph 4(h) above (hereafter, the “Victim Compensation
Amount”). The Company shall pay the full Victim Compensation Amount to the United States
no later than ten (10) business days after the Agreement is signed pursuant to payment

instructions provided by the Fraud Section and the Office in their sole discretion.

16. | The Fraud Section and the Office shall serve as the claims administrator for
making victim compensation payments, and shall! have sole discretion to determine how the

Victim Compensation Amount will be disbursed.

17. The Company is currently a defendant in a putative class action captioned
Boutchard v. Gandhi, et. al, No. 18-cv-7041 (N.D. Ill.) (the “Class Action’). In the event ofa
settlement or judgment in the Class Action or any other class action based on similar allegations,
at any time during the Term and at the Company’s request, the Fraud Section and the Office will
consider, in their sole discretion, whether any members of the class are entitled to a victim
compensation payment from the Victim Compensation Amount and, if so, whether any portion
of the Victim Compensation Amount shall be used to pay class members in full or partial
satisfaction of the settlement or judgment. No portion of the Victim Compensation Amount shall
be paid out for attorney’s fees in the Class Action or any other class action based on similar

allegations.

18. | The Company agrees that any unclaimed part of the Victim Compensation
Amount remaining at the end of the Term shall revert to the United States in the form of an
additional Criminal Monetary Penalty.

Conditional Release from Liability

19. Subject to Paragraphs 25-29, the Fraud Section and the Office agree, except as

-11-
provided in this Agreement, that they will not bring any criminal or civil case against the
Company relating to any of the conduct described in the attached Statement of Facts or the
criminal Information filed pursuant to this Agreement. The Fraud Section and the Office,
however, may use any information related to the conduct described in the attached Statement of
Facts against the Company: (a) in a prosecution for perjury or obstruction of justice; (b) in a
prosecution for making a false statement; (c) in a prosecution or other proceeding relating to any
crime of violence; or (d) in a prosecution or other proceeding relating to a violation of any
provision of Title 26 of the United States Code.
a. This Agreement does not provide any protection against prosecution for
any future conduct by the Company.
b. In addition, this Agreement does not provide any protection against
prosecution of any individuals, regardless of their affiliation with the Company.

Corporate Compliance Program

20. The Company represents that it has implemented and will continue to implement
a compliance and ethics program designed to prevent and detect violations of the Commodities
Laws throughout its operations, including those of its affiliates agents, and joint ventures (to the
extent that the Company manages or controls such joint ventures), and those of its contractors
and subcontractors whose responsibilities relate to commodities trading or supervision of
commodities trading, including, but not limited to, the minimum elements set forth in

Attachment C.

21. In order to address any deficiencies in its internal controls, policies, and
procedures, the Company represents that it has undertaken, and will continue to undertake in the

future, in a manner consistent with all of its obligations under this Agreement, a review of its

-|2-
existing controls (including its trade surveillance tools), policies, and procedures regarding
compliance with the Commodities Laws. Where necessary and appropriate, the Company agrees
to adopt a new compliance program, or to modify its existing one, including internal controls,
compliance policies, and procedures in order to ensure that it maintains an effective compliance
program, including a system of internal controls, designed to effectively detect and deter
violations of the Commodities Laws. The compliance program, including the internal controls
system, will include, but not be limited to, the minimum elements set forth in Attachment C.

Corporate Compliance Reporting

22. | The Company agrees that it will report to the Fraud Section and the Office
annually during the Term regarding remediation and implementation of the compliance measures
described in Attachment C. These reports will be prepared in accordance with Attachment D.

Deferred Prosecution

23. In consideration of the undertakings agreed to by the Company herein, the Fraud
Section and the Office agree that any prosecution of the Company for the conduct set forth in the
attached Statement of Facts be and hereby is deferred for the Term. To the extent there is
conduct disclosed by the Company that is not set forth in the attached Statement of Facts, such
conduct will not be exempt from further prosecution and is not within the scope of, or relevant

to, this Agreement.

24. The Fraud Section and the Office further agree that if the Company fully complies
with all of its obligations under this Agreement, the Fraud Section and the Office will not
continue the criminal prosecution against the Company described in Paragraph 1 and, at the
conclusion of the Term, this Agreement shall expire. Within six months after the Agreement’s

expiration, the Fraud Section and the Office shall seek dismissal with prejudice of the criminal

-13-
Information filed against the Company described in Paragraph 1, and agrees not to file charges in
the future against the Company based on the conduct described in this Agreement and the
attached Statement of Facts.

Breach of the Agreement

25. If, during the Term, the Company (a) commits any felony under United States
federal law; (b) provides in connection with this Agreement deliberately false, incomplete, or
misleading information, including in connection with its disclosure of information about
individual culpability; (c) fails to cooperate as set forth in Paragraphs 5 and 6 of this Agreement;
(d) fails to implement a compliance program as set forth in Paragraphs 21 and 22 of this
Agreement and Attachment C; or (e) otherwise fails to completely perform or fulfill each of the
Company’s obligations under the Agreement, regardless of whether the Fraud Section and the
Office become aware of such a breach after the Term is complete, the Company shall thereafter
be subject to prosecution for any federal criminal violation of which the Fraud Section and the
Office have knowledge, including, but not limited to, the charges in the Information described in
Paragraph 1, which may be pursued by the Fraud Section and the Office in the United States
District Court for the Southern District of Texas or any other appropriate venue. Determination
of whether the Company has breached the Agreement and whether to pursue prosecution of the
Company shall be in the sole discretion of the Fraud Section and the Office. Any such
prosecution may be premised on information provided by the Company or its personnel. Any
such prosecution relating to the conduct described in the attached Statement of Facts or relating
to conduct known to the Fraud Section and the Office prior to the date on which this Agreement
was signed that is not time-barred by the applicable statute of limitations on the date of the

signing of this Agreement may be commenced against the Company, notwithstanding the

-|4-
expiration of the statute of limitations, between the signing of this Agreement and the expiration
of the Term plus one year. Thus, by signing this Agreement, the Company agrees that the statute
of limitations with respect to any such prosecution that is not time-barred on the date of the
signing of this Agreement shall be tolled for the Term plus one year. In addition, the Company
agrees that the statute of limitations as to any violation of the Commodities Laws that occurs
during the Term will be tolled from the date upon which the violation occurs until the earlier of
the date upon which the Fraud Section and the Office are made aware of the violation or the
duration of the Term plus five years, and that this period shall be excluded from any calculation

of time for purposes of the application of the statute of limitations.

26. In the event the Fraud Section and the Office determine that the Company has
breached this Agreement, the Fraud Section and the Office agree to provide the Company with
written notice of such breach prior to instituting any prosecution resulting from such breach.
Within thirty days of receipt of such notice, the Company shall have the opportunity to respond
to the Fraud Section and the Office in writing to explain the nature and circumstances of such
breach, as well as the actions the Company has taken to address and remediate the situation,
which explanation the Fraud Section and the Office shall consider in determining whether to

pursue prosecution of the Company.

27. Inthe event that the Fraud Section and the Office determine that the Company has
breached this Agreement: (a) all statements made by or on behalf of the Company to the Fraud
Section and the Office or to the Court, including the attached Statement of Facts, and any
testimony given by the Company before a grand jury, a court, or any tribunal, or at any
legislative hearings, whether prior or subsequent to this Agreement, and any leads derived from

such statements or testimony, shall be admissible in evidence in any and all criminal proceedings

-15-
brought by the Fraud Section and the Office against the Company; and (b) the Company shall not
assert any claim under the United States Constitution, Rule 11(f) of the Federal Rules of
Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule that any
such statements or testimony made by or on behalf of the Company prior or subsequent to this
Agreement, or any leads derived therefrom, should be suppressed or are otherwise inadmissible.
The decision whether conduct or statements of any current member, officer or employee, or any
person acting on behalf of, or at the direction of, the Company, will be imputed to the Company
for the purpose of determining whether the Company has violated any provision of this

Agreement shall be in the sole discretion of the Fraud Section and the Office.

28. | The Company acknowledges that the Fraud Section and the Office have made no
representations, assurances, or promises concerning what sentence may be imposed by the Court
if the Company breaches this Agreement and this matter proceeds to judgment. The Company
further acknowledges that any such sentence is solely within the discretion of the Court and that

nothing in this Agreement binds or restricts the Court in the exercise of such discretion.

29. On the date that the period of deferred prosecution specified in this Agreement
expires, the Company, by the Chief Executive Officer of the Company and the Chief Financial
Officer of the Company, will certify to the Fraud Section and the Office that the Company has
met its disclosure obligations pursuant to Paragraph 6 of this Agreement. Each certification will
be deemed a material statement and representation by the Company to the executive branch of
the United States for purposes of Title 18, United States Code, Sections 1001 and 1519, and it
will be deemed to have been made in the judicial district in which this Agreement is filed.

Sale, Merger, or Other Change in Corporate Form of Company

30. Except as may otherwise be agreed by the parties in connection with a particular

-16-
transaction, the Company agrees that in the event that, during the Term, it undertakes any change
in corporate form, including if it sells, merges, or transfers business operations that are material
to the Company’s consolidated operations, or to the operations of any subsidiaries or affiliates
involved in the conduct described in the attached Statement of Facts, as they exist as of the date
of this Agreement, whether such sale is structured as a sale, asset sale, merger, transfer, or other
change in corporate form, it shall include in any contract for sale, merger, transfer, or other
change in corporate form a provision binding the purchaser, or any successor in interest thereto,
to the obligations described in this Agreement. The purchaser or successor in interest must also
agree in writing that the ability of the Fraud Section and the Office to breach under this
Agreement is applicable in full force to that entity. The Company agrees that the failure to
include these provisions in the transaction will make any such transaction null and void. The
Company shall provide notice to the Fraud Section and the Office at least thirty (30) days prior
to undertaking any such sale, merger, transfer, or other change in corporate form. The Fraud
Section and the Office shall notify the Company prior to such transaction (or series of
transactions) if it determines that the transaction(s) will have the effect of circumventing or
frustrating the enforcement purposes of this Agreement. At any time during the Term the
Company engages in a transaction(s) that has the effect of circumventing or frustrating the
enforcement purposes of this Agreement, the Fraud Section and the Office may deem it a breach
of this Agreement pursuant to Paragraphs 25-29 of this Agreement. Nothing herein shall restrict
the Company from indemnifying (or otherwise holding harmless) the purchaser or successor in
interest for penalties or other costs arising from any conduct that may have occurred prior to the
date of the transaction, so long as such indemnification does not have the effect of circumventing

or frustrating the enforcement purposes of this Agreement, as determined by the Fraud Section

-17-
and the Office.

Public Statements by Company

31. | The Company expressly agrees that it shall not, through present or future
attorneys, officers, members, employees, agents, or any other person authorized to speak for the
Company make any public statement, in litigation or otherwise, contradicting the acceptance of
responsibility by the Company set forth above or the facts described in the attached Statement of
Facts. Any such contradictory statement shall, subject to cure rights of the Company described
below, constitute a breach of this Agreement, and the Company thereafter shall be subject to
prosecution as set forth in Paragraphs 25-29 of this Agreement. The decision whether any public
statement by any such person contradicting a fact contained in the attached Statement of Facts
will be imputed to the Company for the purpose of determining whether it has breached this
Agreement shall be at the sole discretion of the Fraud Section and the Office. If the Fraud
Section and the Office determine that a public statement by any such person contradicts in whole
or in part a statement contained in the attached Statement of Facts, the Fraud Section and the
Office shall so notify the Company, and the Company may avoid a breach of this Agreement by
publicly repudiating such statement(s) within five business days after notification. The
Company shall be permitted to raise defenses and to assert affirmative claims in other
proceedings relating to the matters set forth in the attached Statement of Facts provided that such
defenses and claims do not contradict, in whole or in part, a statement contained in the attached
Statement of Facts. This Paragraph does not apply to any statement made by any present or
former officer, member, employee, or agent of the Company in the course of any criminal,
regulatory, or civil case initiated against such individual, unless such individual is speaking on

behalf of the Company.

-{8-
32. | The Company agrees that if it or any of its direct or indirect subsidiaries or
affiliates issues a press release or holds any press conference in connection with this Agreement,
the Company shall first consult with the Fraud Section and the Office to determine (a) whether
the text of the release or proposed statements at the press conference are true and accurate with
respect to matters between the Fraud Section and the Office and the Company; and (b) whether

the Fraud Section and the Office have any objection to the release.

33. The Fraud Section and the Office agree, if requested to do so, to bring to the
attention of law enforcement and regulatory authorities the facts and circumstances relating to
the nature of the conduct underlying this Agreement, including the nature and quality of the
Company’s cooperation and remediation. By agreeing to provide this information to such
authorities, the Fraud Section and the Office are not agreeing to advocate on behalf of the
Company, but rather are agreeing to provide facts to be evaluated independently by such
authorities.

Limitations on Binding Effect of Agreement

34. This Agreement is binding on the Company and the Fraud Section and the Office
but specifically does not bind any other component of the Department of Justice, other federal
agencies, or any state, local or foreign law enforcement or regulatory agencies, or any other
authorities, although the Fraud Section and the Office will bring the cooperation of the Company
and its compliance with its other obligations under this Agreement to the attention of such
agencies and authorities if requested to do so by the Company. The Company and the Fraud
Section and the Office agree that if the Court rejects the Agreement, all the provisions of the
Agreement shall be deemed null and void, and the Term shall be deemed to have not begun.

Notice

-19-
35. Any notice to the Fraud Section and the Office under this Agreement shall be
given by personal delivery, overnight delivery by a recognized delivery service, or registered or
certified mail, addressed to:

Sally Molloy

Deputy Chief, Fraud Section

Criminal Division, U.S. Department of Justice
1400 New York Avenue NW

Washington, DC, 20005

and

John R. Lewis

Assistant United States Attorney
U.S. Attorney’s Office

Southern District of Texas

1000 Louisiana, Suite 2300
Houston, TX 77002

Any notice to the Company under this Agreement shall be given by personal delivery, overnight
delivery by a recognized delivery service, or registered or certified mail, addressed to:

William Iwaschuk

General Counsel

Tower Research Capital LLC

377 Broadway, 11th FI.
New York, NY 10013

Notice shall be effective upon actual receipt by the Fraud Section and the Office or the
Company.

Complete Agreement

36. This Agreement, including its attachments, sets forth all the terms of the
agreement between the Company and the Fraud Section and the Office. No amendments,
modifications, or additions to this Agreement shall be valid unless they are in writing and signed
by the Fraud Section and the Office, the attorneys for the Company and a duly authorized
representative of the Company.

AGREED:

-20-
FOR TOWER RESEARCH CAPITAL LLC:

Date: w\olis By:

Date: hil By:
| TY
Date: wh \ 4 By:

FOR THE DEPARTMENT OF JUSTICE:

Date: \\ lulig BY:

Date: BY:

-2|-

Manager

James J. eam J Ir.

Akin Gump Strauss Hauer & Feld LLP
Kenneth Raisler

Tower Research @apital LLC

Michael A\Asaro

Counsel for Tower Research Capital LLC
Sullivan & Cromwell, LLP

Mark Gorton

Charles F. Connolly

Se be.

Counsel for Tower Research Capital LLC

ROBERT A. ZINK

Chief, Fraud Section

Criminal Division

United States Department of Justice

Mattieacl. Se

Matthew F. Sullivan
Trial Attorney

Avi Perry
Assistant Chief

RYAN K. PATRICK
United States Attorney
Southern District of Texas

dul fa. —

John R. Lewis ~
Assistant United States Attorney

COMPANY OFFICER’S CERTIFICATE

I have read this Agreement and carefully reviewed every part of it with outside counsel
for Tower Research Capital LLC (the “Company”). I understand the terms of this Agreement
and voluntarily agree, on behalf of the Company, to each of its terms. Before signing this
Agreement, I consulted outside counsel for the Company. Counsel fully advised me of the rights
of the Company, of possible defenses, of the Sentencing Guidelines’ provisions, and of the
consequences of entering into this Agreement.

I have carefully reviewed the terms of this Agreement with the members of the Company.
I have advised and caused outside counsel for the Company to advise the members fully of the
rights of the Company, of possible defenses, of the Sentencing Guidelines’ provisions, and of the
consequences of entering into the Agreement.

No promises or inducements have been made other than those contained in this
Agreement. Furthermore, no one has threatened or forced me, or to my knowledge any person
authorizing this Agreement on behalf of the Company, in any way to enter into this Agreement.

I am also satisfied with outside counsel’s representation in this matter. I certify that I am the
Manager for the Company and that I have been duly authorized by the Company to execute this

Agreement on behalf of the Company.

Date: whi
' TOWER RESEARCH C

By:

Mark Gorton
Manager
CERTIFICATE OF COUNSEL

I am counsel for Tower Research Capital LLC (the “Company”) in the matter covered by
this Agreement. In connection with such representation, I have examined relevant Company
documents and have discussed the terms of this Agreement with the Company members. Based
on our review of the foregoing materials and discussions, I am of the opinion that the
representative of the Company has been duly authorized to enter into this Agreement on behalf
of the Company and that this Agreement has been duly and validly authorized, executed, and
delivered on behalf of the Company and is a valid and binding obligation of the Company.
Further, I have carefully reviewed the terms of this Agreement with the members and the
General Counsel of the Company. I have fully advised them of the rights of the Company, of
possible defenses, of the Sentencing Guidelines’ provisions and of the consequences of entering
into this Agreement. To my knowledge, the decision of the Company to enter into this

Agreement, based on the authorization of the members, is an informed and voluntary one.

5 J. Benjamin, Jr.

lael A. Asaro

Charles F. Connolly

Akin Gump Strauss Hauer & Feld LLP
Counsel for Tower Research Capital LLC

i yy /
‘By: x ¢ Ee °

~ sg Kenneth Raisler
Sullivan & Cromwell, LLP
Counsel for Tower Research Capital LLC

ATTACHMENT A

STATEMENT OF FACTS

1. The following Statement of Facts is incorporated by reference as part of the
Deferred Prosecution Agreement (the “Agreement’’) between the United States Department of
Justice, Criminal Division, Fraud Section (the “Fraud Section”) and the United States Attorney’s
Office for the Southern District of Texas (the “Office”) and Tower Research Capital LLC (the
“Company”’). The Company hereby agrees and stipulates that the following information is true
and accurate. The Company admits, accepts, and acknowledges that it is responsible for the acts
of its officers, members, employees, and agents as set forth below. Should the Fraud Section and
the Office pursue the prosecution that is deferred by this Agreement, the Company agrees that it
will neither contest the admissibility of, nor contradict, this Statement of Facts in any such
proceeding. The following facts establish beyond a reasonable doubt the charges set forth in the
criminal Information attached to this Agreement:

2. From approximately March 2012 until December 2013 (the “Relevant Period”),
three traders who were employees of the Company and members of a trading team called the
“Relay Team” engaged in a scheme to defraud in connection with the purchase and sale of
commodities for future delivery, namely, E-Mini S&P 500 futures contracts, E-Mini Dow futures
contracts, and E-Mini NASDAQ 100 futures contracts (collectively, “EMini futures contracts”).
The three traders were Kamaldeep Gandhi, Krishna Mohan, and Yuchun (“Bruce”) Mao
(collectively, the “Relay Traders’”’).

3. On thousands of occasions throughout the Relevant Period, the Relay Traders
fraudulently placed orders to buy and sell E-Mini futures contracts with the intent to cancel those

orders before execution, including in an attempt to profit by deceiving other market participants.

A-24
4, More specifically, the Relay Traders placed one or more orders for E-Mini futures
contracts that they intended to execute (“Genuine Orders”). Often, the Genuine Orders were
“iceberg” orders, meaning that other market participants could see only a portion of the order’s
full size at any given time.

5. During the same trading sequences, the Relay Traders also placed one or more
orders for E-Mini futures contracts that they intended to cancel before execution (“Deceptive
Orders”) on the opposite side of the market from the Genuine Orders. The Deceptive Orders
were not iceberg orders, and so the full order size was visible to other market participants.

6. By placing Deceptive Orders, the Relay Traders intended to, and did, inject false
and misleading information about the genuine supply and demand for E-Mini futures contracts
into the markets, and to deceive other participants in those markets into believing something
untrue, namely that the visible order book accurately reflected market-based forces of supply and
demand.

7. This false and misleading information was intended to, and at times did, trick
other market participants into reacting to the apparent change and imbalance in supply and
demand by buying and selling E-Mini futures contracts at quantities, prices, and times that they
otherwise likely would not have traded.

8. By placing Deceptive Orders to buy E-Mini futures contracts, the Relay Traders
intended to create the false impression in the market of increased demand in an effort to drive up
the prices of those futures contracts.

9. By placing Deceptive Orders to se// E-Mini futures contracts, the Relay Traders
intended to create the false impression in the market of increased supply in an effort to drive

down the prices of those futures contracts.

A-25
10. —_- In either situation, the Relay Traders placed Deceptive Orders with the intent to
fraudulently and artificially move the price of a given E-Mini futures contract in a manner that
would increase the likelihood that one or more of their own opposite-side Genuine Orders would
be filled by other market participants, allowing the Relay Traders to generate trading profits and
avoid losses for themselves and the Company.

11. In placing Deceptive Orders to benefit their Genuine Orders, the Relay Traders
were acting, at least in part, to benefit the Company and within the scope of their employment as

employees of the Company.

A-26
ATTACHMENT B
SECRETARY’S CERTIFICATE
TOWER RESEARCH CAPITAL LLC
1, William Iwaschuk, do hereby certify that:
1. Iam the duly appointed and acting Secretary of Tower Research Capital LLC, a limited
liability company organized under the laws of the State of New York (the “Company”);
2. The resolutions set forth below were duly adopted by unanimous consent of the Members
on October 18, 2019 and remain in full force and effect as of the date hereof, and their
contents have not been rescinded, annulled, revoked or modified in any respect:
WHEREAS, Tower Research Capital LLC (the “Company”) has been engaged in
discussions with the United States Department of Justice, Criminal Division, Fraud Section (the
“Fraud Section”) and the United States Attorney’s Office for the Southern District of Texas (the
“Office”) regarding issues arising in connection with unlawful commodities trading activity by
former employees of the Company; and

WHEREAS, in order to resolve such discussions, it is proposed that the Company enter
into a certain agreement with the Fraud Section and the Office; and

WHEREAS, the Company’s General Counsel, William Iwaschuk, together with outside
counsel for the Company, have advised the Members of the Company of its rights, possible
defenses, the Sentencing Guidelines’ provisions, and the consequences of entering into such
agreement with the Fraud Section and the Office;
NOW, THEREFORE, BE IT RESOLVED, that:

1. The Company (a) acknowledges the filing of the one-count Information charging

the Company with commodities fraud, in violation of Title 18, United States Code, Section

B-27
1348(1) (the “Information”); (b) waives indictment on such charges and enters into a deferred
prosecution agreement with the Fraud Section and the Office (the “Agreement”); and (c) agrees to
pay a Total Criminal Monetary Amount of $67,493,849 under the Agreement with respect to the
conduct described in the Information;

2. The Company accepts the terms and conditions of the Agreement, including, but
not limited to, (a) a knowing waiver of its rights to a speedy trial pursuant to the Sixth Amendment
to the United States Constitution, Title 18, United States Code, Section 3161, and Federal Rule of
Criminal Procedure 48(b); and (b) a knowing waiver for purposes of the Agreement and any
charges by the United States arising out of the conduct described in the attached Statement of Facts
of any objection with respect to venue and consents to the filing of the Information, as provided
under the terms of the Agreement, in the United States District Court for the Southern District of
Texas; and (c) a knowing waiver of any defenses based on the statute of limitations for any
prosecution relating to the conduct described in the attached Statement of Facts or relating to
conduct known to the Fraud Section prior to the date on which the Agreement was signed that is
not time-barred by the applicable statute of limitations on the date of the signing of the Agreement;

3. The Manager of the Company, Mark Gorton, is hereby authorized, empowered and
directed, on behalf of the Company, to execute the Agreement substantially in such form as
reviewed by the members with such changes as the Manager of the Company, Mark Gorton, may
approve;

4. The Manager of the Company, Mark Gorton, is hereby authorized, empowered and

directed to take any and all actions as may be necessary or appropriate and to approve the

B-28
forms, terms or provisions of any agreement or other documents as may be necessary or
appropriate, to carry out and effectuate the purpose and intent of the foregoing resolutions; and

5. All of the actions of the Manager of the Company, Mark Gorton, which actions
would have been authorized by the foregoing resolutions except that such actions were taken
prior to the adoption of such resolutions, are hereby severally ratified, confirmed, approved, and

adopted as actions on behalf of the Company.

Date: ull By. As fravheb—

/ William Iwaschuk
Tower Research Capital LLC

B-29
ATTACHMENT C

CORPORATE COMPLIANCE PROGRAM

In order to address any deficiencies in its internal controls, compliance code, policies,
and procedures regarding compliance with the Commodities Exchange Act, Title 7, United
States Code, Sections 1, et seg., and the commodities fraud statute, Title 18, United States Code,
Section 1348 (collectively, the “Commodities Laws”), Tower Research Capital LLC (the
“Company”) agrees to continue to conduct, in a manner consistent with all of its obligations
under this Agreement, appropriate reviews of its existing internal controls, policies, and
procedures.

Where necessary and appropriate, the Company agrees to modify its compliance
program, including internal controls, compliance policies, and procedures in order to ensure that
it maintains an effective compliance program that is designed to deter and detect violations of the
Commodities Laws. At a minimum, this should include, but not be limited to, the following
elements to the extent they are not already part of the Company’s existing internal controls,
compliance code, policies, and procedures:

High-Level Commitment

1. The Company will ensure that its members and senior management provide
strong, explicit, and visible support and commitment to its corporate policy against violations of
the Commodities Laws and the Company’s compliance code.

Policies and Procedures
2. The Company will develop and promulgate clearly articulated and visible
corporate policies against violations of the Commodities Laws, which policy shall be

memorialized in a written compliance code.

C-30
3. The Company will develop and promulgate compliance policies and procedures
designed to reduce the prospect of violations of the Commodities Laws and the Company’s
compliance code, and the Company will take appropriate measures to encourage and support the
observance of ethics and compliance policies and procedures against violation of the
Commodities Laws by personnel at all levels of the Company. These policies and procedures
shall apply to all members, officers, and employees. The Company shall notify all employees
that compliance with the policies and procedures is the duty of individuals at all levels of the
company.

Periodic Risk-Based Review

4. The Company will develop these compliance policies and procedures on the basis
of a periodic risk assessment addressing the Commodities Laws.

5. The Company shall review their compliance policies and procedures no less than
annually and update them as appropriate to ensure their continued effectiveness.

Proper Oversight and Independence

6. The Company will assign responsibility to one or more senior corporate
executives of the Company for the implementation and oversight of the Company’s compliance
code, policies, and procedures. Such corporate official(s) shall have the authority to report
directly to the Company’s members, or any appropriate committee of the Company’s members,
and shall have an adequate level of autonomy from management as well as sufficient resources
and authority to maintain such autonomy.

Training and Guidance
7. The Company will implement mechanisms designed to ensure that its compliance

code, policies, and procedures are effectively communicated to all members, officers, employees,
and, where necessary and appropriate, agents and business partners. These mechanisms shall
include: (a) periodic training for all members and officers, all employees in positions of
leadership or trust, all commodities traders, and any positions that require such training (e.g.,
internal audit, sales, legal, compliance, finance);and (b) corresponding certifications by all such
members, officers, employees, commodities traders, agents and business partners, certifying
compliance with the training requirements.

8. The Company will maintain, or where necessary establish, an effective system for
providing guidance and advice to members, officers, employees, commodities traders, and,
where necessary and appropriate, agents and business partners, on complying with the
Company’s compliance code, policies and procedures, including when they need advice on an
urgent basis.

Internal Reporting and Investigation

9. The Company will maintain, or where necessary establish, an effective system for
internal and, where possible, confidential reporting by, and protection of, members, officers,
employees, and, where appropriate, agents and business partners concerning violations of the
Commodities Laws or the Company’s compliance code, policies, and procedures.

10. | The Company will maintain, or where necessary establish, an effective and
reliable process with sufficient resources for responding to, investigating, and documenting
allegations of violations of the Commodities Laws or the Company’s compliance code, policies,
and procedures.

Enforcement and Discipline

C-32
11. | The Company will implement mechanisms designed to effectively enforce its
compliance code, policies, and procedures, including appropriately incentivizing compliance and
disciplining violations.

12. The Company will institute appropriate disciplinary procedures to address, among
other things, violations of the Commodities Laws and the Company’s compliance code, policies,
and procedures by the Company’s members, officers, and employees. Such procedures should
be applied consistently and fairly, regardless of the position held by, or perceived importance of,
the member, officer, or employee. The Company shall implement procedures to ensure that
where misconduct is discovered, reasonable steps are taken to remedy the harm resulting from
such misconduct, and to ensure that appropriate steps are taken to prevent further similar
misconduct, including assessing the internal controls, compliance code, policies, and procedures
and making modifications necessary to ensure the overall compliance program is effective.

Mergers and Acquisitions

13. | The Company will develop and implement policies and procedures for mergers
and acquisitions requiring that the Company conduct appropriate risk-based due diligence on
potential new business entities, including appropriate due diligence by legal, accounting, and
compliance personnel.

14. The Company will ensure their compliance code, policies, and procedures apply
as quickly as is practicable to newly acquired businesses or entities merged with the Company
and will promptly (a) train the members, officers, employees, commodities traders, agents, and
business partners consistent with Paragraphs 7-8; and (b) where warranted, conduct an audit of
all newly acquired or merged businesses as quickly as is practicable concerning compliance with

the Commodities Laws.

C-33
Monitoring and Testing

15. | The Company will conduct periodic reviews and testing of its compliance code,
policies, and procedures designed to evaluate and improve their effectiveness in preventing and
detecting violations of Commodities Laws and the Company’s code, policies, and procedures,
taking into account relevant developments in the field and evolving international and industry
standards.

16. | The Company will maintain, or where necessary establish, an effective trade
surveillance program capable of detecting trading activity that has indicia of fraudulent,

manipulative, or otherwise unlawful conduct.

C-34
ATTACHMENT D

REPORTING REQUIREMENTS

Tower Research Capital LLC (the Company’) agrees that it will report to the Fraud
Section and the Office periodically, at no less than twelve-month intervals during a three-year
term, regarding remediation and implementation of the compliance program and internal
controls, policies, and procedures described in Attachment C. During this three-year period, the
Company shall: (1) conduct an initial review and submit an initial report, and (2) conduct and
prepare at least two (2) follow-up reviews and reports, as described below:

a. By no later than one year from the date this Agreement is executed, the Company
shall submit to the Fraud Section and the Office a written report setting forth a complete
description of its remediation efforts to date, its proposals reasonably designed to improve the
Company’s internal controls, policies, and procedures for ensuring compliance with the
Commodities Exchange Act, Title 7, United States Code, Sections 1, et seqg., and the
commodities fraud statute, Title 18, United States Code, Section 1348 (collectively, the
“Commodities Laws”), and the proposed scope of the subsequent reviews. The report shall be
transmitted to:

Sally Molloy

Deputy Chief, Fraud Section

Criminal Division, U.S. Department of Justice

1400 New York Avenue NW
Washington, DC 20005

and

John R. Lewis

Assistant United States Attorney
U.S. Attorney’s Office

Southern District of Texas

1000 Louisiana, Suite 2300
Houston, TX 77002

D-35
The Company may extend the time period for issuance of the report with prior written approval
of the Fraud Section and the Office.

b. The Company shall undertake at least two follow-up reviews and reports,
incorporating the views of the Fraud Section and the Office on the Company’s prior reviews and
reports, to further monitor and assess whether the Company’s policies and procedures are
reasonably designed to detect and prevent violations of the Commodities Laws.

c. The first follow-up review and report shall be completed by no later than one year
after the initial report is submitted to the Fraud Section and the Office. The second follow-up
review and report shall be completed and delivered to the Fraud Section and the Office no later
than thirty days before the end of the Term.

d. The reports will likely include proprietary, financial, confidential, and competitive
business information. Moreover, public disclosure of the reports could discourage cooperation,
impede pending or potential government investigations and thus undermine the objectives of the
reporting requirement. For these reasons, among others, the reports and the contents thereof are
intended to remain and shall remain non-public, except as otherwise agreed to by the parties in
writing, or except to the extent that the Fraud Section and the Office determine in their sole
discretion that disclosure would be in furtherance of the Fraud Section’s and the Office’s
discharge of their duties and responsibilities or is otherwise required by law.

e. The Company may extend the time period for submission of any of the follow-up

reports with prior written approval of the Fraud Section and the Office.

D-36
